                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                          )      MATTICE/CARTER
                                                   )
                v.                                 )      CASE NO. 1:09-CR-98
                                                   )
 KEVIN LEE JACKSON                                 )


                                            ORDER

        On October 22, 2009, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant Kevin Lee Jackson’s

 (“Defendant”) plea of guilty to Count One of the Indictment in exchange for the undertakings

 made by the government in the written plea agreement; (b) the Court adjudicate Defendant guilty

 of the charges set forth in Count One of the Indictment; (c) that a decision on whether to accept

 the plea agreement be deferred until sentencing; and (d) Defendant shall remain in custody

 pending sentencing in this matter (Doc. 269). Neither party filed an objection within the given

 ten days. After reviewing the record, the Court agrees with the magistrate judge’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to Count One of the Indictment, in exchange for the

 undertakings made by the government in the written plea agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and




Case 1:09-cr-00098-CLC-CHS           Document 304        Filed 11/10/09      Page 1 of 2      PageID
                                           #: 591
       (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Tuesday,

 February 16, 2010, at 9:00 am.

       SO ORDERED.

       ENTER:


                                                      /s/Harry S. Mattice, Jr.
                                                      HARRY S. MATTICE, JR.
                                                 UNITED STATES DISTRICT JUDGE




                                           2


Case 1:09-cr-00098-CLC-CHS        Document 304     Filed 11/10/09   Page 2 of 2   PageID
                                        #: 592
